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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY


MID-AMERICA MILLING COMPANY, LLC, et al.,

               Plaintiffs,

       v.                                                           Case No. 3:23-cv-72

UNITED STATES DEPARTMENT
OF TRANSPORTATION, et al.,

            Defendants.
______________________________________________________________________________

            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
______________________________________________________________________________

       As set forth in the brief in support of this motion, the race and gender presumptions of

eligibility for the Disadvantaged Business Enterprise Program (the “DBE Program”) are

unconstitutional in violation of the Fifth Amendment’s Equal Protection Guarantee and the

Administrative Procedure Act.

       Pursuant to Fed. R. Civ. P. 65 and 5 U.S.C. § 705, and as set forth in the brief in support

of this motion, Plaintiffs hereby move for a preliminary injunction prohibiting Defendants from

implementing or enforcing the DBE Program’s race and gender presumptions and DBE

participation goal as set forth in P.L. 117-58, § 11101(e) and in 49 C.F.R. §§ 26.21, 26.41, 26.45,

26.47, 26.5, 26.51, 26.53, 26.67, 26.69, and 13 C.F.R. §§ 124.101, 124.103, 124.104, 124.105,

and/or as otherwise applied to the DBE Program and other DBE programs and services.
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     Dated: December 15, 2023

                                   Respectfully submitted,

                                   WISCONSIN INSTITUTE FOR
                                   LAW & LIBERTY, INC.
                                   s/ Daniel P. Lennington
                                   Richard M. Esenberg (WI Bar No. 1005622)
                                   Daniel P. Lennington (WI Bar No. 1088694)
                                   Cara M. Tolliver (WI Bar No. 1112818)
                                   330 East Kilbourn Avenue, Suite 725
                                   Milwaukee, WI 53202
                                   Telephone: (414) 727-9455
                                   Facsimile: (414) 727-6385
                                   Rick@will-law.org
                                   Dan@will-law.org
                                   Cara@will-law.org

                                   Attorneys for Plaintiffs




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